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               EXHIBIT B
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Watters, Jessica R (WAS)

From:                              York, Julia K (WAS)
Sent:                              Monday, August 1, 2022 6:35 PM
To:                                'Dong, L. Vivian'; Watters, Jessica R (WAS); Lisagar, Matthew (NYC); Wales, David P
                                   (WAS)
Cc:                                Webster, James M.; Treiger, Alex P.
Subject:                           RE: FTC v Meta PO Declarations


Vivian,

Pursuant to Section E(2) of the Protective Order, TikTok objects to the disclosure of its Highly Confidential Information to
the two in-house counsel identified by Meta. The declarations of Mr. Meiring and Ms. Dubois do not confirm that Mr.
Meiring and Ms. Dubois understand and will abide by the two-year prohibitions set forth in Section D(1)(d) against,
among other activities, participating in or advising on Competitive Decision-Making. If there is a separate writing (such
as an executed an In-House Litigation Counsel Agreement Concerning Confidentiality, Appendix B to the protective
order) that reflects that understanding, we request that you provide a copy of that writing. In any event, we are
concerned that given the responsibilities outlined in their declarations, Mr. Meiring and Ms. Dubois could not
realistically limit their use of TikTok's Highly Confidential Information to this litigation. Mr. Meiring has considerable
prior antitrust experience and lists his primary responsibilities as "managing litigation, regulatory investigations, and
potential legal disputes and advising the company on litigation and regulatory risk." The majority of litigations on which
he advises Meta are antitrust litigations. As to Ms. Dubois, she lists her primary responsibilities as "managing
government antitrust litigation and regulatory and internal investigations and advising the company on litigation and
regulatory risk." Like Mr. Meiring, the litigations on which Ms. Dubois advises are antitrust litigations. In filings to the
Court, Meta itself has touted TikTok as a "critical competitor" (EFC 147-1, Memorandum in Support of Defendant's
Notice of Motion for Issuance of Letters of Request, at 6). If Mr. Meiring and Ms. Dubois learn TikTok's Highly
Confidential Information, they cannot unlearn it, and TikTok is concerned that it will necessarily – even if unintentionally
– influence their management of and advice on other antitrust matters on Meta's behalf. Given this risk and the
individuals to whom Meta proposes to give access to TikTok's Highly Confidential Information, TikTok's position is that
such information should be disclosed only to outside counsel working on this litigation.

We are available to meet and confer on this issue if helpful.

Kind regards,
Julia


Julia K. York
Skadden, Arps, Slate, Meagher & Flom LLP
1440 New York Avenue, N.W. | Washington | D.C. | 20005-2111
T: +1.202.371.7146 | F: +1.202.661.9126 | M: +1.202.361.2404
julia.york@skadden.com


 Skadden


From: Dong, L. Vivian <vdong@kellogghansen.com>
Sent: Wednesday, July 20, 2022 3:26 PM
To: York, Julia K (WAS) <Julia.York@skadden.com>; Watters, Jessica R (WAS) <Jessica.Watters@skadden.com>; Lisagar,
Matthew (NYC) <Matthew.Lisagar@skadden.com>; Wales, David P (WAS) <David.Wales@skadden.com>
Cc: Webster, James M. <jwebster@kellogghansen.com>; Treiger, Alex P. <atreiger@kellogghansen.com>
Subject: [Ext] FTC v Meta PO Declarations

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Julia,

Pursuant to Section E(1) of the Protective Order in this matter, please see the attached declarations from Meta’s
designated In-house counsel.

Thanks,

L. Vivian Dong
Associate
Kellogg, Hansen, Todd, Figel, & Frederick, P.L.L.C.
1615 M Street, N.W. | Suite 400 | Washington, DC 20036 | (202) 326-7997 (work) | (617) 230-2379 (cell)

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